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                                                 3.
        Debtor is the sole member and owner of JGP&P, LLC (the "LLC'') and is the owner of

100% of the stock of Red Eyed, Inc., a Georgia Corporation (''Red Eyed Stock''). The LLC owns

real property located at 4730 Frontage Road, Forest Park, Georgia (the "Real Property"). 1

                                                 4.

        NTKN Holdings, LLC (the '·Buyer··) previously made an offer to purchase the Real

Property, LLC and Red Eyed Stock, and Debtor filed a Motion to Sell based upon those offers

and this Court granted such motion. [Docket Nos. 158, 173]. However, both Buyer and Debtor

have determined that Buyer would be better served if it owned the entity that owns the Real

Property due to the LLC's participation in litigation that resulted in a settlement with the City of

Forest Park, Georgia, the municipality in which the Real Property is located. Therefore, the

Buyer has provided an amended contract and the Debtor has determined it is in the Estate's best

interest. A copy of the Contract for the Purchase and Sale of Membership Interest of Limited

Liability Company and Stock (the "Agreement") attached hereto as Exhibit A.

                                                 5.

       As set forth in the Agreement, Buyer's offer encompasses paying $2,800,000.00 for the

Debtor's interest in the LLC and $500,000.00 for the Red Eyed Stock for the total purchase price

of$3,300,000.00 (the "Purchase Price") to be paid as follows: (1) $50,000.00 earnest money to

be paid three (3) business days after the Agreement date and deposited into escrow; (2) an

additional $10,000.00 earnest money to be paid ten (10) days after the Agreement date and

deposited into escrow; and (3) the remaining balance of$3,240,000.00 shall be paid in full by

Buyer at closing.


1
 The LLC's only asset on the date of sale of the Debtor's interest shall only be the Real Property
as defined herein.
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                                                  6.

        Buyer is the current tenant of the Real Property and Debtor believes that the Agreement

represents the highest and best offer available and that the Purchase Price represents the true

value of the LLC and Red Eyed Stock.

                                                  7.

        Upon approval of the sale motion. and payment of the full Purchase Price, Debtor shall

transfer her membership interest in the LLC and her stock interest in Red Eyed to Purchaser

upon payment of the purchase price. so that the Purchaser shall be a good faith buyer with all

protections available to it under 11 U.S.C § 363.

                                                  8.

        The law firm of Medley & Associates will be acting as the Escrow Agent in this transaction.

The Escrow Agent is only authorized to receive and accept earnest money in accordance with the

terms and conditions of the Agreement.

                                                  9.

       The Agreement is contingent on and subject to approval by the Bankruptcy Court. The

sale is not authorized unless and until a final order is entered in this bankruptcy case.

                                                 I 0.

       Debtor anticipates all holders of security interest, liens. claims, encumbrances, and interest

in the property will consent to the sale contemplated herein.

                                                 11.

       TROP, INC.. ASSERTED LIEN. Cohen and Caproni, LLC as Disbursing Agent under the

Confirmed Plan of Reorganization of Trop. rnc., asserts a first priority lien against the Real

Property as more particularly described in the Deed to Secured Debt executed by JGP&P, LLC as

Grantor dated June 23. 2020 and recorded in the real property records of Clayton County, Georgia
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in Deed Book 12009 Page 404 (as modified or amended the "Security Deed"), and assigned to

Cohen and Caproni. LLC as successor Disbursing Agent under the Confi rmed Plan of

Reorganization ( the "Disbursing Agent") recorded January 13, 2022 and recorded in the real

property records of Clayton County, Georgia in Deed Book 12797 Page 382.

                                                12.

        This Deed to Secure debt secures a Note from Trop, Inc to the Disbursing Agent for the

purposes of paying claims pursuant to the Trop Plan of Reorganization. Cohen and Caproni, LLC

as Disbursing Agent has filed a claim in this Bankruptcy Case as Debtor has also guaranteed that

Note. Additionally. Ainsworth Dudley on behalf of himself and others has filed claims in Debtor·s

case for the same claims as are being paid by the Disbursing Agent. Payment upon closing of this

Real Property will result in payment in full of the claims of the Disbursing Agent and those certain

creditors of Trop, Inc. whose claims are guaranteed by the Debtor.

                                                13.

        Debtor is not aware of any other or additional secured claims, although real property

ta.xes may be due and owing at closing and shall be prorated.

                                                14.

        The Membership interest in the LLC and Debtor's Red Eyed, Inc. stock will be sold to

Purchaser "As Is-Where Is" with no warranties or representations. other than Debtor is the

current owner of that membership interest and owner of the stock. To the extent licenses may be

transferred they will be, but Debtor specifically disclaims alcohol or adult entertainment licenses

are transferrable.
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                                     RELIEF REQUESTED

                                                 15.

       Debtor requests authority to sell the property as described herein free and clear ofliens,

claims, encwnbrances, and interests for the Purchase Price. Additionally, Debtor requests

permission to (i) disburse the Purchase Price as provided herein with liens attaching to the Sales

Proceeds to the same validity and priority as existed on the filing date; and (ii) take such action

as necessary to effectuate the terms of the Agreement. Debtor requests that: (a) the Court waive

any stay pursuant to Bankruptcy Rule 6004 or othervvise: and (b) any order approving the sale of

the Real Property be effective immediately upon entry.

                     PROPOSED DISTIBUTION OF SALE PROCEEDS

                                                 16.

       Debtor requests that it be authorized to use and distribute the Sales Proceeds as follows:

   (a) Payment of all customary closing costs, if any; and

   (b) The amount of the Secured Claim shall be paid in full at closing without any escrow hold;

       and

   (c) All net proceeds to be used to fund the Debtor's Chapter 11 Bankruptcy Case and Plan

       and shall be remitted to Bankruptcy Counsel to be held in an IOL TA trust account.

             TRANSACTION IS IN THE BEST INTEREST OF THE ESTATE

                                                 17.

       Buyer has made an offer to purchase the membership interest in the LLC and Red Eyed

Stock. Debtor believes the proposal represents the highest and best offer.
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                                        BASIS FOR RELIEF

                                                   18.

         A debtor in possession may sell property under Section 363(f) of the Bankruptcy Code

·'free and clear of any interest in such property of any entity other than the estate'' if any one of the

following conditions is satisfied: (1) applicable non-bankmptcy law permits sale of such property

free and clear of such interest; (2) such entity consents; (3) such interest is a lien and the price at

which such property is to be sold is greater than the aggregate value of all liens on such property;

(4) such interest is in bona fide dispute; or (5) such entity could be compelled. in a legal or equitable

proceeding, to accept a money satisfaction of such interest. 11 U.S.C. §363(f). Debtor anticipates

that one or more of these requirements will be satisfied.

                                                   19.

         Buyer does not have a familial relationship to Debtor. Buyer is not an "affiliate" or

"insider" of Debtor. Upon information and belief, Debtor shows that the proposed Buyer is a

"good faith'' purchaser. Debtor requests that the Court find such Buyer to be a good faith purchaser

pursuant to the provisions of Section 363(m) of the Bankruptcy Code.

                                                  20.

         Buyer has indicated its interest in proceeding under the Agreement as soon as possible.

                                                  21.

         Debtor requests that the Court waive any stay of the effectiveness of any order granting

the Motion and approving the sale under Bankruptcy Rule 6004.

         WHEREFORE, for all of the foregoing reasons, Debtor moves the Court to enter an

Order:

         (a) Granting the Motion and approving the sale free and clear of all liens;
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